Case 2:04-cr-20194-.]DB Document 57 Filed 06/15/05 Page 1 of 2 Page|D 57

IN THE UNITED sTATES DISTRICT COURT ~ dc .. o
FOR THE WESTERN DISTRICT OF TENNESSEE"ES J* l 55 PE=-i' h: 35

WESTERN DIVISION
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c ‘]'lr'n i;'§~ :;’:`l:§ §`J!F§L.E:l "H¥l$
UNITED STATES OF AMERICA, )
)
Plaintiff, ) Criminal No. 04-20194-B
vs. )
)
MARTINO MCNEAL, )
)
Defendant. )

 

ORDER ON CON'I`INUANCE AND SPECIFYING PERIOD
OF EXCLUDABLE DELAY

 

lt is hereby ORDERED that the Government's motion to continue the sentencing hearing
Scheduled Tuesday, June 14, 2005 is hereby GRANTED, and is now reset for
k um da!¢¢§ &A%M §1" g l MDF §§ q :OOM. The time is excluded under the Speedy
Trial Act.

Cl~\
IT IS SO ORDERED this the f 3 day ofJune, 20 5.

 

 

u@ STATES DISTRICT N§)DGE

UNITED sTATE D"ISIC COURT - WESERNT D's'TRCT 0 TESSEE

   
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 57 in
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Honorable J. Breen
US DISTRICT COURT

